Case 2:19-cr-00079-Z-BR Document 60 Filed 01/06/22 Page1of1i PagelD 309

 

ES. DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

 

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS JAN-6 2022
AMARILLO DIVISION CLERK,U.S. DISTRICT COURT

er ——
UNITED STATES OF AMERICA, epuity

Plaintiff,

 

 

 

 

 

 

v. 2:19-CR-79-Z-(1)
SHANE ANDREW SMITH,

Defendant.

CO? 6? CO? CO? CO? 60? LO? KO? OD

ORDER
Before the Court is Defendant’s Motions to File Documents Under Seal (ECF Nos. 57,58).
After reviewing the motions and the attached documents, the Court finds Defendant’s motions
should be and are hereby GRANTED. The Court instructs the Clerk of the District Court to file
the attached documents under seal. The Court further instructs the Clerk of the District Court not
to file ECF No. 57-2 as Ex. 1. Rather, the Clerk should file ECF No. 58-1 as Ex. 1.

SO ORDERED.

January & , 2022. I

 

MATVHEW J. KACSMARYK
UNWIED STATES DISTRICT JUDGE

 
